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              IN THE UNITED STATES DISTRICT COURT
                    THE SOUTHERN DISTRICT OF GEORGIA               '^"in n
                                                                      i\     »
                                                                                 -MQ-5S
                             SAVANNAH DIVISION


JOSEPH LAMAR MEDLOCK,

     Petitioner,

V.                                             CASE NOS. CV416-251
                                                            CR413-007
UNITED STATES OF AMERICA,

     Respondent.


                                  ORDER


     Before   the    Court   is    the    Magistrate   Judge's     Report         and

Recommendation (Doc. 2), to          which objections       have    been filed

(Doc. 6). After a careful de novo review of the record, the

Court concludes that Petitioner's objections are without merit.

Accordingly, the Report and Recommendation is ADOPTED as the

Court's   opinion    in   this    case.   As a    result.   Petitioner's           28

U.S.C. § 2255 Petition is DENIED. In addition. Petitioner is not

entitled to a Certificate of Appealability, rendering moot any

request for in forma pauperis status on appeal. The Clerk of

Court is DIRECTED to close this case.

     SO ORDERED this ^7^day of April 2017

                                    WILLIAM T. MOORE,*" JR.
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN     DISTRICT OF GEORGIA
